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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

In re:

ALAN B. STONE,                                                        Case No. 18-14164-KHK

         Debtor.                                                      Chapter No. 7

BRANCH BANKING & TRUST COMPANY,

         Plaintiff,

v.

ALAN B. STONE
and KEVIN R. McCARTHY, Trustee,

         Defendants.
                            MOTION FOR RELIEF FROM STAY
                      AND NOTICE OF MOTION AND HEARING THEREOF
         The Motion of Branch Banking & Trust Company (“Plaintiff”) respectfully represents:
         1.      On December 13, 2018, an Order for Relief was entered in this case upon the

filing of a Petition in this Court by the Debtor.
         2.      Kevin R. McCarthy was appointed Trustee of the property of Debtor and is
qualified now and acting as Trustee. The filing of said petition acts as a stay against collection
proceedings by Plaintiff against Defendants pursuant to 11 U.S.C. § 362.
         3.      At the time of the filing of the Petition in Bankruptcy herein, the Debtor and
Myung Seon Stone owned the following real property located at 123 Wateredge Lane,
Fredericksburg, Virginia (“Real Property”), which real property is more accurately described as

follows:

                 Lot 46, WATERDGE ESTATES, Section II, as the same appears
                 duly dedicated, platted and recorded in Deed Book 792 at
                 Page 766, and Plat Book 21, at Page 273, among the land records
                 of Stafford County, Virginia


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       4.      Plaintiff is the holder of a Note dated January 29, 2015 in the original principal

amount of $532,350.00 (“Note”).
       5.      The Note is secured by a lien on the Real Property pursuant to a Deed of Trust
recorded in the Stafford County Circuit Court Clerk’s Office (“Deed of Trust”).
       6.      A copy of the Proof of Claim filed by Plaintiff is attached hereto along with a

copy of the Note and Deed of Trust.
       7.      The Note had a payoff of $506,591.09 as of March 4, 2019, which figure is
exclusive of attorney’s fees and costs.

       8.      Payments are contractually past due under the Note in the amount of $18,411.94.
       9.      Pursuant to the Debtor’s Statement of Intention, the Debtor has stated that he
intends to surrender the Real Property to Plaintiff.
       10.     The Debtor’s Chapter 7 Schedules list the Real Property with an approximate
value of $542,100.00.
       11.     There appears to be minimal if any equity in the Real Property for the benefit of
the Debtor or the Debtor’s estate.
       12.     The Debtor is unable to afford adequate protection due Plaintiff, and neither he
nor his estate has grounds to resist the entry of an Order terminating the stay aforesaid.
       13.     Cause exists to terminate the stay aforesaid.
       14.     Plaintiff is being injured by its inability to proceed against the Real Property
securing the indebtedness due to the automatic stay provided for in 11 U.S.C. § 362.


       WHEREFORE, Plaintiff moves that the automatic stay provided for by the provisions of

Title 11 of the United States Code be modified in conformance therewith, that the provisions of

Bankruptcy Rule 4001(a)(3) be waived, and that it be granted such other and further relief as this

Court shall deem proper.




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                                            NOTICE


       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

       If you do not want the court to grant the relief sought in the motion, or if you want the

court to consider your views on the motion, then on or before fourteen (14) days after service

of this Motion, you or your attorney must file a written response explaining your position with

the Court at the following address: 200 S. Washington St., 3rd Fl., Alexandria, VA 22314, and

serve a copy on the movant. Unless a written response is filed and served within this fourteen

(14) day period, the Court may deem opposition waived, treat the motion as conceded, and

issue an order granting the requested relief.

       If you mail your response to the Court for filing, you must mail it early enough so the

Court will receive it on or before the expiration of the fourteen (14) day period.

       Attend the preliminary hearing scheduled to be held on: April 3, 2019, at 9:30 a.m. in

Courtroom III, in Judge Kindred’s Courtroom, United States Bankruptcy Court, 200 S.

Washington St., Alexandria, VA.

       DATED this 6th day of March, 2019.


                                             BRANCH BANKING AND TRUST COMPANY


                                             By:            /s/ Deborah S. Kirkpatrick
                                                                   Of Counsel
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                                    PROOF OF SERVICE

       I hereby certify that a true copy of the foregoing Motion for Relief from Stay and Notice
of Motion and Hearing was served electronically via CM/ECF this 7h day of March, 2019 on
Counsel for the Debtor, Martin C. Conway, Esq., 12934 Harbor Dr., Suite 107, Woodbridge, VA
22192; the Chapter 7 Trustee, Kevin R. McCarthy, 508 Rehoboth Ct., Vienna, VA 22182; and
mailed via first class mail, postage prepaid to the Debtor, Alan B. Stone, 123 Wateredge Ln.,
Fredericksburg, VA 22406.


                                                   /s/ Deborah S. Kirkpatrick




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